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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

US MEDICAL NETWORKS, LLC,                     §
                                              §
              Plaintiff,                      §
                                              §
              v.                              §
                                              §
BIOFIRE DIAGNOSTICS, LLC,                     §          Civil Action No. 3:19-cv-01848-E
                                              §
              Defendant.                      §



          NOTICE OF CHANGE OF ADDRESS FOR ROBERT W. KANTNER

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

       PLEASE TAKE NOTICE that as of July 1, 2021, Robert W. Kantner, Attorney for

Defendant BioFire Diagnostics, LLC, will change firms and his mailing address as follows:

         Old Address/Firm:              Jones Day
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       For purposes of service of notices and documents in the above-captioned case, please

amend your service list accordingly.
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 Dated: June 28, 2021                 Respectfully submitted,



                                      /s/ Robert W. Kantner
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                                      ATTORNEY FOR DEFENDANT
                                      BIOFIRE DIAGNOSTICS, LLC
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 28, 2021, a true and correct copy of the foregoing instrument

was served on the following counsel of record via ECF.

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                                                 /s/ Robert W. Kantner
                                                 Robert W. Kantner




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